Case 17-04329-KRH                  Doc 7     Filed 04/17/19 Entered 04/17/19 10:56:01                    Desc Main
                                             Document      Page 1 of 5




                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

    In re:                                                           Chapter 11

    HEALTH DIAGNOSTIC LABORATORY,                                    Case No.: 15-32919-KRH
    INC., et al.,
                                                                     Jointly Administered
               Debtors. 1


    RICHARD ARROWSMITH AS
    LIQUIDATING TRUSTEE OF THE HDL
    LIQUIDATING TRUST,

               Plaintiff,
                                                                     Adv. Proceeding No. 17-04329-KRH
    v.
    GOLDIS GERIATRICS, P.C., et al.,
               Defendants.

         NOTICE OF MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT

       PLEASE TAKE NOTICE that on April 17, 2019, Richard Arrowsmith, in his capacity
as Liquidating Trustee of the HDL Liquidated Trust (the “Liquidating Trustee”), appointed
pursuant to the Debtors’ confirmed Modified Second Amended Plan of Liquidation (the “Plan”) 2

1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    Health Diagnostic Laboratory, Inc. (0119), Central Medical Laboratory, LLC (2728), and Integrated Health Leaders,
    LLC (2434).
2
    Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Plan.

         Cullen D. Speckhart (VSB No. 79096)
         WOLCOTT RIVERS GATES
         919 E. Main Street, Ste. 2010
         Richmond, Virginia 23219
         200 Bendix Road, Ste. 300
         Virginia Beach, Virginia 23452
         Telephone: (757) 687-3644
         Email: hdl@wolriv.com

         Counsel to Plaintiff Richard Arrowsmith,
         Liquidating Trustee of the HDL Liquidating Trust
Case 17-04329-KRH       Doc 7    Filed 04/17/19 Entered 04/17/19 10:56:01         Desc Main
                                 Document      Page 2 of 5




in these jointly administered bankruptcy cases (the “Chapter 11 Cases” or the “Cases”), by his
undersigned counsel, filed with the United States Bankruptcy Court for the Eastern District of
Virginia, Richmond Division a Motion for Entry of Default and Default Judgment [Docket No. 6]
(the “Motion”).

       PLEASE TAKE FURTHER NOTICE that a copy of the Motion may be obtained at no
charge at www.americanlegal.com/HDL or for a fee at https://ecf.vaeb.uscourts.gov.

        PLEASE TAKE FURTHER NOTICE on June 29, 2016, the Court entered the Order
Establishing Certain Post-Confirmation Notice, Case Management and Administrative
Procedures [Docket No. 1261] (the “Post-Confirmation Case Management Order”), which
approved the Notice, Case Management and Administrative Procedures attached as Exhibit 1 to
the Post-Confirmation Case Management Order (the “Post-Confirmation Case Management
Procedures”). On May 26, 2016, the Court entered its Order Establishing Procedures for the
Prosecution and Resolution of Avoidance Claims [Docket No. 1135] (the “Avoidance Procedures
Order”). On May 26, 2017 the Court entered its Order Approving Amended Procedures
Governing Avoidance Action Adversary Proceedings [Docket No. 2740] (the “Amended
Avoidance Procedures Order,” and together with the Avoidance Procedures Order and Post-
Confirmation Case Management Order, the “Procedures Orders”). The Procedures Orders,
among other things, proscribe the manner in which Objections must be filed and served, and set
forth when certain hearings will be conducted. Copies of the Procedures Orders may be obtained
at no charge at www.americanlegal.com/HDL or for a fee at https://ecf.vaeb.uscourts.gov.

       PLEASE TAKE FURTHER NOTICE that YOUR RIGHTS MAY BE AFFECTED.
You should read the Motion carefully and discuss it with your attorney, if you have one in the
Chapter 11 cases. (If you do not have an attorney, you may wish to consult one.)

     MOREOVER, UNLESS A WRITTEN RESPONSE IS FILED WITH THE CLERK
OF THE COURT AND SERVED ON THE LIQUIDATING TRUSTEE WITHIN 21
CALENDAR DAYS OF THE MAILING OF THIS MOTION, THE COURT MAY DEEM
ANY OPPOSITION WAIVED, TREAT THE MOTION CONCEDED AND ENTER AN
ORDER GRANTING THE RELIEF REQUESTED WITHOUT A HEARING.

                           Critical Information for Defendants
                         Choosing to File a Response to the Motion

        Who Needs to File a Response: If you oppose the Motion, then you must file and serve a
written response (the “Response”) to the Motion in accordance with this Notice.

      If you do not oppose the Motion, then you do not need to file a written Response to the
Motion.
Case 17-04329-KRH        Doc 7     Filed 04/17/19 Entered 04/17/19 10:56:01           Desc Main
                                   Document      Page 3 of 5




      Response Deadline: The Response Deadline is 4:00 p.m. prevailing Eastern Time on
May 8, 2019 (the “Response Deadline”).

     THE BANKRUPTCY COURT WILL ONLY CONSIDER YOUR RESPONSE IF YOUR
RESPONSE IS FILED, SERVED AND RECEIVED BY THE RESPONSE DEADLINE.

       Your Response will be deemed timely filed only if the Response is actually received on
or before the Response Deadline by the Bankruptcy Court at the following address:

                                 Clerk of the Bankruptcy Court
                                 United States Bankruptcy Court
                                      701 East Broad Street
                                   Richmond, Virginia 23219

       Your Response will be deemed timely served only if a copy of the Response is actually
received on or before the Response Deadline by the Liquidating Trustee’s attorneys at the
following address:

                                    Cullen D. Speckhart
                               WOLCOTT RIVERS GATES
                  200 Bendix Road, Suite 300, Virginia Beach, Virginia 23452
                                Telephone: (757) 497-6633
                                   Direct: (757) 470-5566
                               Email: cspeckhart@wolriv.com

        For the avoidance of doubt, electronic service in accordance with rule 5005-2 of the Local
Rules of the United States Bankruptcy Court for the Eastern District of Virginia and the Court’s
Electronic Case Files Policy will be deemed valid and effective service under the Procedures
Orders.

                     [The remainder of this page is left intentionally blank.]
Case 17-04329-KRH        Doc 7    Filed 04/17/19 Entered 04/17/19 10:56:01           Desc Main
                                  Document      Page 4 of 5




       Failure to File Your Timely Response. If you fail to file and serve your Response on or
before the Response Deadline in compliance with the procedures set forth in this Notice, the
Liquidating Trustee will present to the Bankruptcy Court an appropriate order granting the relief
requested in the Motion without further notice to you.

DATED: April 17, 2019                                  Respectfully submitted,
/s/ Cullen D. Speckhart
Cullen D. Speckhart (VSB No. 79096)
WOLCOTT RIVERS GATES
919 E. Main Street, Ste. 2010
Richmond, Virginia 23219
200 Bendix Road, Ste. 300
Virginia Beach, Virginia 23452
Telephone: (757) 687-3644
Email: hdl@wolriv.com

Counsel to Plaintiff Richard Arrowsmith,
Liquidating Trustee of the HDL Liquidating Trust
Case 17-04329-KRH         Doc 7    Filed 04/17/19 Entered 04/17/19 10:56:01            Desc Main
                                   Document      Page 5 of 5




                                CERTIFICATE OF SERVICE

       I certify that on April 17, 2019, a true copy of the foregoing Notice of Motion for Entry of
Default and Default Judgment, was sent by First Class, postage prepaid mail, to the following:

       GOLDIS GERIATRICS, P.C.
       MICHAEL E. GOLDIS
       REG. AGENT AND PRESIDENT
       36 STOKES ROAD
       MT. LAUREL, NJ 08054

       MICHAEL GOLDIS
       119 E. LAUREL ROAD
       STRATFORD, NJ 08084

                                                            /s/ Cullen D. Speckhart
                                                            Cullen D. Speckhart, Esq.
